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                                                                                                                                                                        IV




                                                                       116TH CONGRESS
                                                                          2D SESSION
                                                                                                            H. RES. 1094
                                                                             Condemning QAnon and rejecting the conspiracy theories it promotes.




                                                                                     IN THE HOUSE OF REPRESENTATIVES
                                                                                                      AUGUST 25, 2020
                                                                         Mr. MALINOWSKI (for himself and Mr. RIGGLEMAN) submitted the following
                                                                              resolution; which was referred to the Committee on the Judiciary




                                                                                                   RESOLUTION
                                                                           Condemning QAnon and rejecting the conspiracy theories
                                                                                              it promotes.

                                                                       Whereas throughout history, conspiracy theories that falsely
                                                                          blame secret cabals or marginalized groups for society’s
                                                                          ills have fueled prejudice, genocide, and acts of terrorism;
                                                                       Whereas QAnon is a movement promoting a collection of un-
                                                                          founded conspiracy theories that have spread widely on
                                                                          the internet since 2017;
                                                                       Whereas QAnon initially alleged that prominent Americans
                                                                          are engaged in a secret plot to control the world, while
                                                                          using their power to exploit children, and has expanded
                                                                          to embrace virtually every popular conspiracy theory of
                                                                          the last several decades, from questioning the Kennedy
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                                                                          assassination, to believing in alien landings, to denying
                                                                          the safety of vaccines;


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                                                                       Whereas many QAnon followers express anti-Semitic views,
                                                                          and the Anti-Defamation League has said that the move-
                                                                          ment’s central conspiracy theory includes anti-Semitic
                                                                          elements;
                                                                       Whereas the FBI has assessed with high confidence that
                                                                          ‘‘fringe political conspiracy theories’’, including QAnon,
                                                                          ‘‘very likely motivate some domestic extremists, wholly or
                                                                          in part, to engage in criminal or violent activity’’, and
                                                                          that these conspiracy theories ‘‘very likely encourage the
                                                                          targeting of specific people, places and organizations,
                                                                          thereby increasing the likelihood of violence against these
                                                                          targets’’;
                                                                       Whereas the FBI bases this assessment on ‘‘events in which
                                                                          individuals committed crimes, plotted attacks, or success-
                                                                          fully carried out deadly violence, and who—either before
                                                                          or after their arrests—attributed their actions to their
                                                                          conspiratorial beliefs’’;
                                                                       Whereas QAnon adherents have been implicated in crimes
                                                                          that they claim their QAnon beliefs inspired, including—
                                                                               (1) a man arrested in 2018 for plotting to plant a
                                                                          bomb in the Illinois Capitol rotunda to make Americans
                                                                          aware of the ‘‘Pizzagate’’ conspiracy theory;
                                                                               (2) a man arrested in 2018 for using an armored
                                                                          car to block traffic on the Hoover Dam Bypass Bridge;
                                                                               (3) a man in Arizona arrested in 2019 for vandal-
                                                                          izing a Catholic church;
                                                                               (4) a woman in Colorado arrested in 2019 for plot-
                                                                          ting an armed raid to kidnap her child, who had been
                                                                          taken from her custody;
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                                                                               (5) a man charged with the murder of an organized
                                                                          crime boss in New York in 2019; and


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                                                                                    (6) a woman arrested in New York with a car full
                                                                               of knives after posting a video accusing Joe Biden of par-
                                                                               ticipating in child sex trafficking and threatening to kill
                                                                               him;
                                                                       Whereas the FBI further assesses that ‘‘these conspiracy
                                                                          theories very likely will emerge, spread and evolve in the
                                                                          modern information marketplace . . . fostering anti-gov-
                                                                          ernment sentiment, racial and religious prejudice, [and]
                                                                          increasing political tensions’’;
                                                                       Whereas according to the Combatting Terrorism Center at
                                                                          the West Point Military Academy, ‘‘QAnon is arguably
                                                                          no longer simply a fringe conspiracy theory but an ide-
                                                                          ology that has demonstrated its capacity to radicalize to
                                                                          violence individuals at an alarming speed’’;
                                                                       Whereas Facebook, Twitter, and Google have removed or
                                                                          blocked QAnon groups and content from their platform
                                                                          for violating their policies against misinformation, bul-
                                                                          lying, hate speech, and harassment;
                                                                       Whereas QAnon adherents have been harming legitimate ef-
                                                                          forts to combat child exploitation and sex trafficking, in-
                                                                          cluding by overwhelming anti-trafficking hotlines with
                                                                          false reports; and
                                                                       Whereas the conspiracy theories promoted by QAnon under-
                                                                          mine trust in America’s democratic institutions, encour-
                                                                          age rejection of objective reality, and deepen our Nation’s
                                                                          political polarization: Now, therefore, be it
                                                                         1              Resolved, That the House of Representatives—
                                                                         2                       (1) condemns QAnon and rejects the conspiracy
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                                                                         3              theories it promotes;



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                                                                         1                       (2) encourages the Federal Bureau of Inves-
                                                                         2              tigation and all Federal law enforcement agencies to
                                                                         3              continue to strengthen their focus on preventing vio-
                                                                         4              lence, threats, harassment, and other criminal activ-
                                                                         5              ity by extremists motivated by fringe political con-
                                                                         6              spiracy theories; and
                                                                         7                       (3) urges all Americans, regardless of our be-
                                                                         8              liefs or partisan affiliation, to seek information from
                                                                         9              authoritative sources, and to engage in political de-
                                                                       10               bate from a common factual foundation.
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